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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                    4:13CR3122-3

       vs.
                                                    DETENTION ORDER PENDING TRIAL
DANICIELIZ ALLISON,

                      Defendant.

        The defendant poses a serious risk of flight if released. On the government's motion, the
court afforded the defendant an opportunity for a detention hearing under the Bail Reform Act,
18 U.S.C. § 3142(f). The court concludes the defendant must be detained pending trial.

        Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's release would pose
a risk of harm to the public
        Specifically, the court finds that the defendant has a criminal record which indicates a
propensity to violate orders of the court; has violated the conditions of release previously
imposed by a court; has a propensity to harm others; has limited contacts with the community;
has failed to appear for court proceedings in the past; waived the right to a detention hearing;
and conditions which restrict Defendant’s travel, personal contacts, and possession of drugs,
alcohol, and/or firearms; require reporting, education, employment, or treatment; or monitor
Defendant’s movements or conduct; or any combination of these conditions or others currently
proposed or available (see 18 U.S.C. § 3142(c)), will not sufficiently ameliorate the risks posed
if the defendant is released.

                                   Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.

       September 15, 2014.
                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
